Case 3:21-cv-00194-RGJ-RSE Document 11 Filed 09/17/21 Page 1 of 1 PageID #: 37




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

PAUL DILLON,                                           )
                                                       )
        Plaintiff,                                     )
                                                       )
vs.                                                    ) Cause Number: 3:21-CV-194
                                                       )
REPUBLIC PARKING SYSTEM, LLC,                          )
                                                       )
        Defendant.                                     )

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, Paul Dillon (“Plaintiff”),

and Defendant, Republic Parking System, LLC (“Defendant”), (collectively, the “Parties”),

stipulate and agree that this case shall be dismissed with prejudice, with the Parties to bear their

respective fees and costs incurred. This stipulation takes effect upon the date of its filing, and this

action is dismissed with prejudice without any further action or order required by the Court. Fed.

R. Civ. P. 41(a)(1)(A)(ii). For the Court’s convenience, a proposed order is filed with this

stipulation.



DATE: September 17, 2021                               Respectfully Submitted,

_/s/ Devan A. Dannelly________                          /s/ Ryan M. Martin (w/ permission) _
Devan A. Dannelly                                      Ryan M. Martin
BIESECKER DUTKANYCH & MACER, LLC                       JACKSON LEWIS P.C
101 North 7th Street, Ste. 603                         201 E. Fifth Street, 26 Floor
Louisville, KY 40202                                   Cincinnati, OH 45202
Telephone: (502) 561-3484                              Telephone: (513) 898-0050
Facsimile: (812) 424-1005                              Facsimile: (513) 898-0051
Email: ddannelly@bdlegal.com                           Email: ryan.martin@jacksonlewis.com
Attorney for Plaintiff                                 Attorney for Defendant




                                                 -1-
